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                             EXHIBIT 27
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                                In the name of Allah, the Merciful, the Gracious


World Assembly of Muslim Youth
The Information Center

Source: Al-Madinah                                                        Number: 9417
Date: 4/9/1413 H – 25/2/1993                                              Page: …………..
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Subject: Islamic Benevolence Committee



                        Islamic Benevolence Committee
                               (World Assembly of Muslim Youth)


[In the Name of Allah, the Merciful and Gracious. The orphans of the Islamic Benevolence
Committee pray that God the Almighty grant their sponsors the best reward and endow them
with the companionship of His Prophet in the highest Paradise.]

The Orphans’ account number is: 3000/3 at the Rajhi Investment Bank Company (Al-Salamah
District branch/Jeddah)

500 orphan forms at the Islamic Benevolence Committee await sponsors. Would you, brothers in
Islam, be these sponsors, so that you may win the companionship of the master of Prophets, may
God’s peace and blessings be upon him?


Jeddah - P.O. Box 9072 Jeddah 21413. Tel. and Fax: 6730941
P.O. Box 10845 Riyadh 11443 Tel.: 4641663/4641669 Fax: 4641710
P.O. Box 5059 Al-Medina Al-Munawwarah Tel.: 8229020 Fax: 8228748
P.O. Box 9104 Dammam 31413 Tel.: 8425159/8445116




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                                In the name of Allah, the Merciful, the Gracious


World Assembly of Muslim Youth
The Information Center

Source: Al-Madinah                                                        Number: 9416
Date: 3/9/1413 H – 24/2/1993                                              Page: …………..
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Subject: Islamic Benevolence Foundation




                 The Benevolence International Foundation
             Is the safe hand to educate your Muslim children

Account number 4900 at the Rajhi Investment Bank Company (Al-Salamah District branch/Jeddah.

Faisal Islamic Bank, account number 4814444, all branches in the Kingdom of Saudi Arabia.


 Correspondences to be forwarded in the Kingdom of Saudi Arabia to P.O. Box 7600 Jeddah
 21472 Tel.: 6832836 Fax: 6833094.
 Ottawa, Canada. Tel.: (613) 2471085. Fax: (613) 2471076
 Chicago, United Sates. Tel.: (708) 6368996. Fax. (708) 6369016
 Khartoum, Sudan. Tel.: 225989
 Zagreb, Croatia. Tel. and Fax: 412392




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